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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
                                    (BOSTON DIVISION)

                                  CASE NO. 17-CR-10265

UNITED STATES OF AMERICA.

                     Plaintiff,


V.




SALLY ANN JOHNSON,


                     Defendant.




                       MOTION FOR DISBURSEMENT OF BOND

       Undersigned counsel, Paul D. Petruzzi, respectfully requests that this Honorable
Court enter an order discharging and reimbursing the $15,000.00 bond, with accrued
interest, posted with the Registry of the Court on behaif of the Defendant, SALLY ANN
JOHNSON, by Law Offices of Paul D. Petruzzi, P.A. In support, undersigned counsel
states as follows:

       1.     On October 5, 2017, a bond in the amount of fifteen thousand
($15,000.00) dollars was posted, by the Law Offices of Paui D. Petruzzi, P.A., for the
Defendant with the Registry of the Court for the United States District Court for the
District of Massachusetts. See attached copy of receipt. The $15,000.00 came from
(and belonged to)a third-party sourceand not Ms. Johnson.




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                                  Law Offices of Paul D. Petruzzi, P.A.
